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Debtor 1 Antonia V. Higginbotham

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF LOUISIANA

 

Case number 18-11418

tif known) CO) Check if this is an
amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:
IZ creditors have claims secured by your property, or

H you have leased persona! property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptc, zetition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsibie for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule BD: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below. ee
__ Haentify the ‘creditor and fhe: property tt that i is: Scola ‘al 8 ‘What ido youl ‘intend te do ‘with the je Property.d that ; ae

“secures adeht?

  
 

Did: you claim ‘the property -
“as exempt on Schedule CG?”

  
 

     

Creditors Capital One Auto Finance Ml Surrender the property. MNc
name: [] Retain the property and redeem it.

- . CO Retain the property and enter into a O Yes
Description of 2009 Nissan Altima 70000 miles Reaffirmation Agreement.
property C1 Retain the property and [explain];

securing debt:

 

 

 

 

Creditors Carmax Mi Surrender the prope, cy. WNo
name: [] Retain the property and redeem it.

. CJ Retain the property and enter inte a U1 Yes
Description of 20414 BMW 320i 35000 miles Reaffirmation Agreement.
property C1 Retain the property and [explain]:
securing debt:
Creditors Chase Mortgage C1) Surrender the property. ONo
name: [I Retain the property and redeem it.

(1 Retain the property and enter into a Mi Yes
Description of 2 Summerlin Dr. La Place, LA Reaffirmation Agreement.
property 70068 St John the Baptis M4 Retain the property and [explain]:

County
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 pace 1

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Debtor1 Antonia V. Higginbotham Case number (ifknown) 18-11418

 

securing debt: will try to modfy

 

 

Creditors Credit Acceptance @ Surrender the property. Hino
name, [] Retain the property and redeem it.

(I Retain the property and enter into a C1 Yes
Description of 2014 Toyota Tundra 53000 miles Reaffirmation Agreement.
property C) Retain the property and [explain]:

securing debt:

 

 

List Your Unexpired Personal! Property Leases

For any unexpired personal! property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

4: Willthe lease be assumed? .:

Lessors name: [] No
Description of leased

Property: 0 Yes
Lessor's name: EC] No
Description of leased

Property: C] Yes
Lessor's name: CI No
Description of leased

Property: Cl] Yes
Lessor's name: OJ No
Description of leased

Property: El Yes
Lessor's name: CO No
Description of jeased

Property: Cl Yes
Lessors name: 1] No
Description of leased

Property: C] Yes
Lessors name: LC] No
Description of leased

Property: [] Yes
Sign Below

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal
Property that is subject to an unexpired lease.

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uh shines it ( i i AA an jg db Even x
Antonia V. Fiigimbetiina Signature of Debtor 2
Signature of Debtor 1

 

 

Date Date

 

 

Official Form 108 Statement of Intention for Individuals Fuing Under Chapter 7 page 2

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